                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )        NO. 3:06-00031-18
                                            )        JUDGE CAMPBELL
ROBERTO MANIER                              )


                                           ORDER


       Pending before the Court is a Petition for Revocation of Supervised Release (Docket No.

846). The Court held a hearing on the Petition on February 25, 2013.

       For the reasons stated from the bench, the hearing was continued to March 14, 2013, at

9:00 a.m.

       IT IS SO ORDERED.



                                                     __________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




 Case 3:06-cr-00031       Document 848          Filed 02/25/13   Page 1 of 1 PageID #: 3218
